                    Case 1:20-cv-00273-RP Document 76 Filed 06/15/20 Page 1 of 4
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    To:    U.S. District Judge Robert Pitman
           501 West 5th Street, Suite 5300                                         FILED
           Austin, TX 78701
                                                                                  JUN   152020
                                                                              cWK U.S. DiSTRICT CW
    From: Wanda Ironheart Traversie Warner                                   V&STERN IRjjqTEXAS
          Alfred Dewitt Warner Jr.
                                                                             BY         Vu'    '..
                                                                                              DEPUTY
            7305 Turner Terrace
            North Richiand Hills, Tx 76180


    CERTIFIED MAIL EJ 309 055 778 US

    Date: 6/10/2020
    Re: Case # 1:20-CV-0023 Order 70 NO LEGAL MERIT

    Judge Robert Pitman,

    This Notice is to Inform the United States District Court Western Division of Texas Austin Division that the Or-
    der #70 Order Has BEEN DENIED DUE TO NO LEGAL MERIT.


    The Order #70 signed By Judge Robert L. Pitman ordering private confidential information concerning META 1
    Coin Trust from Secured Party Creditor Wanda Ironheart Traversie Warner and Secured Party Credit or Alfred
    Dewitt Warner Jr. has NO LAWFUL AUTHORITY TO EXECUTE.


    The United States District Court Western Division of Texas Austin Division and individually Robert Pitman or
    Judge Robert Pitman has NO CONTRACT with Secured Party Creditor Wanda Ironheart Traversie Warner or Se-
    cured Party Creditor Alfred Dewitt Warner Jr.


    The United States District Court Western Division of Texas Austin Division and individually Robert Pitman or
    Judge Robert Pitman has NOJURISDICTION with Secured Party Creditor Wanda Ironheart Traversie Warner or
    Secured Party Creditor Alfred Dewitt Warner Jr. Secured Party Creditors operate in a Superior Jurisdiction and
    not within the lower jurisdiction of The United States District Court Western Division of Texas Austin Division.
              Case 1:20-cv-00273-RP Document 76 Filed 06/15/20 Page 2 of 4
June 2, 2020. Judge Robert L. Pitman had no lawful authority to execute an Order demanding any private infor-
mation with attempts to further persecution of a legal free enterprise.


Judge Robert L. Pitman your illegal actions have been added to the complaint.


SECURED PARTY CREDITOR WANDA IRONHEART TRAVERSIE WARNER AND SECURED PARTY CREDITOR ALFRED

DEWIF WARNERJR. ORDERJI.JDGE ROBERT L PITMAN TO IMMEDIATELY CEASE AND DESIST ANY FURTHER
CONTRACT AUEMPTS AND DISHONOR.




                                             Date
Wanda Ironheart Traversie Warner
International Immunity File Number 888877-T9MJM807567
Secured Party Creditor,
Texas Secretary of State U.C.C.1 200014235805 , 40000152391196
Live Human Being

                                                          /(i
   (/1                                   /   Date
Alfred Dewitt Warner Jr.
Secured Party Creditor,
Texas Secretary of State U.C.C.1 200014235805, 40000152391196
Live Human Being

Texas                  )
                        ) ss.
Tarrant County         )

                                                     JURAT

   For the purpose of verification only, on the 10th day of June 2020, Wanda Ironheart Traversie Warner and
Alfred Dewitt Warner Jr. personally appeared before me and proved to me on the basis of satisfactory evidence
to be the person whose name is subscribed hereto and acknowledged to me that he or she executed the same.,
                                          Subscribed before me this day.

                       Witness my hand and seal this ILL.. day of _J(Lv\L ------- , 2020.


                           NOTARY   SIGNATURE)4ct4\..                            SEA
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                                 Certificate of Mailing                                i

On June 10, 2020, I mailed to:                                                                        I
U.S. District Judge Robert Pitman                                                  S
501 West 5th Street, Suite 5300, Austin, TX 78701
CERTIFIED MAIL EJ 309 055 778 US
The papers identified as Case # 1:20-CV-0023 Order 70 NO LEGAL MERIT
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